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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                                  COVINGTON

CRIMINAL ACTION NO. 05-68-DLB

UNITED STATES OF AMERICA                                                      PLAINTIFF


VS.                      MEMORANDUM OPINION & ORDER


MICHAEL L. BLACK                                                           DEFENDANT

                              ********************************

      This matter is currently before the Court on Defendant Black’s Motion to Quash

Search Warrant and to Suppress Evidence Seized Pursuant Thereto. (Doc. # 39). The

government has filed its response in opposition to the Motion. (Doc. # 40).

      On December 21, 2005, the Court conducted a pretrial conference during which the

Court heard all pending motions, including the above-referenced motion. The United

States was present through counsel, Assistant United States Attorney Laura K. Voorhees.

Defendant Black was present, represented by Gary J. Sergent. Although conceding that

he lacks standing to contest the search, Defendant Lofton was present, represented by

Thomas Lyons. Upon the agreement of counsel, and determining that a further evidentiary

hearing would be necessary to adjudicate the motion, the Court continued the hearing until

January 12, 2006.

      On January 12, 2006, the Court conducted an evidentiary hearing on the motion to

suppress. The United States was present through counsel, Assistant United States

Attorney Laura K. Voorhees. Defendant Black was present, represented by Gary J.



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Sergent. Defendant Lofton was also present, represented by Thomas Lyons.

       At the conclusion of the hearing, Defendant Black was provided with the opportunity

to submit a supplemental memorandum relating to whether the conditions of probation were

in effect on June 22, 2005. On January 16, 2006, Defendant Black’s counsel filed his

supplemental memorandum. (Doc. # 59), and on January 17, 2006, the government filed

its response thereto. (Doc. # 60). The motion, having now been fully briefed, is ripe for the

Court’s review.

       I.      Issues Raised

       In his motion to quash/suppress, Defendant Black challenges the legality of a state

search warrant1 which authorized the search of a residence identified as 318½ Plum Street,

Maysville, Kentucky. More specifically, Black challenges the conditions of his shock

probation, argues that the search warrant was facially deficient and the affidavit lacked the

requisite probable cause necessary for its issuance, and further challenges the lawfulness

of his warrantless arrest and the subsequent use of the fruits of that warrantless search in

the search warrant affidavit. Black also argues in his supplemental memorandum that

because his case was on direct appeal when the Order granting shock probation was

entered, that Order should have been stayed pending the appeal pursuant to Kentucky

Criminal Rule 12.76(4).2




       1
          A copy of the challenged state search warrant and supporting affidavit have been made
part of the record as Government Exhibit Three admitted during the evidentiary hearing.
       2
         Rule 12.76(4) provides that "[a]n order placing the defendant on probation shall be stayed
if an appeal is taken."

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       During the December 21, 2005 hearing,3 the parties agreed that although Black was

challenging the sufficiency of the supporting affidavit, an evidentiary hearing on the motion

to quash/suppress was required because Black was challenging his June 22, 2005 arrest

and subsequent discovery of marijuana during the search incident to that arrest.

       II.      Findings of Fact

       On January 12, 2006, the undersigned conducted an evidentiary hearing wherein

two witnesses testified. More particularly, the government called Tim Fegan and Keith

Fetters. The Court also took judicial notice of K.R.S. § 533.050, which permits a state

probation officer, or peace officer acting at the direction of the probation officer, who sees

an offender violate the terms of his probation, arrest the offender without a warrant. K.R.S.

§ 533.050(1)(b). The Court also admitted a copy of the Mason County Circuit Court docket

sheet for Defendant Black’s 03-CR-00025 criminal case and took judicial notice of the

entries in that docket sheet.4

       After considering the testimony, the credibility of the witnesses, and the exhibits

admitted during the hearing, the Court makes the following factual findings:

       1. On February 13, 2004, Defendant Black was sentenced by Mason Circuit Judge

John McNeill. The Judgment was entered on February 17, 2004.

       2. On May 4, 2004, Black’s attorney in state court filed a motion for shock probation.

On May 14, 2004, that motion was denied. On July 23, 2004, Black’s attorney filed a


       3
          Black’s counsel also acknowledged during the December, 2005 hearing that he was not
raising a Franks v. Delaware, 438 U.S. 154 (1978) challenge and conceded that no oral or other
supplemental information had been provided to the state court judge who signed the search
warrant.
       4
           This docket sheet has been made part of the record as Docket Entry No. 55.

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second motion for shock probation. On August 6, 2004, a hearing was scheduled on

Black’s motion for August 27, 2004. After a hearing, Judge McNeill granted Black shock

probation. Pursuant to the Order granting shock probation, further execution of Black’s

sentence was suspended and he was placed on probation under the supervision of the

Division of Probation and Parole for a period of 5 years.

       3. During the August 27, 2004 shock probation hearing, a video tape of which has

been provided to the Court and made part of the record pursuant to this Order, Judge

McNeill discussed the shock probation motion with counsel and placed Black on probation

for five years. However, upon being advised that Black had been charged in New York with

state weapon and marijuana charges, Judge McNeill warned Black that if he was convicted

of those charges, he would likely revoke Black’s probation. Although there was some

limited discussion of Black’s direct appeal of his Mason County conviction, there was no

request by Black’s attorney to stay the execution of the five year term of probation pending

the appeal. Additionally, the Mason County docket sheet admitted during the hearing

reflects neither a motion nor order to stay Black’s probation pending appeal.

       4. On August 30, 2004, Defendant Black met with Probation and Parole Officer Lisa

Yeary and signed the conditions of his supervision, acknowledging the conditions. These

conditions included, but were not limited to:

              C      I agree that I may be subject to search and seizure if my officer has

                     reason to believe that I have illegal drugs, alcohol, volatile substances,

                     or other contraband on my person or property;

              C      I understand that I shall not enter any place where alcoholic

                     beverages are sold as a primary commodity;

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              C      I shall avoid associating with any convicted felon.

See Conditions of Probation, admitted as Government Exhibit One during the hearing, at

¶¶ V(A), V(C), and VI(G).

       5. The conditions of supervision also stated that “I have read or had read to me, the

above conditions of my release that I must fully observe while under active supervision.

I fully understand and accept the above conditions and realize that any violation shall be

reported and failure to abide by these conditions can be grounds for revocation of my

release.”

       6. At approximately 9:00 a.m. on June 22, 2005, Detective Tim Fegan with the

Buffalo Trace Narcotics Task Force, Maysville, Kentucky, received information from

Maysville Police Detective Ken Fuller, who had been informed by a reliable cooperating

informant that Michael Black, a convicted felon, was concealing a large quantity of cocaine

at the residence of Steve Lofton, Jr., also a convicted felon, located at 318 ½ Plum Street,

Maysville, Kentucky.

       7. At approximately 1:30 p.m. that same date, Detective Fegan set up surveillance

in the area around 318 ½ Plum Street and the Dutch Inn, a bar which is at the corner of

Plum Street and Fourth Street in Maysville. According to Detective Fegan, the Dutch Inn

is primarily a bar, but it also sells package liquor. The Dutch Inn is approximately 200 feet

away from 318 ½ Plum Street.

       8. While conducting surveillance at approximately 2:00 p.m., Fegan observed Black

and Lofton and two other unknown males exit a grey/black Suburban parked in the Dutch

Inn parking lot. Fegan was personally familiar with both Black and Lofton from his work in

other cases and knew that Black was on shock probation. As they exited the Suburban,

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Fegan observed Black carrying an orange duffel bag and a black duffel bag. Both bags

were later seized from 318 ½ Plum Street during the execution of the state search warrant.

Fegan thereafter observed Black take the two bags into 318 ½ Plum Street and Lofton

leave with the other two men.

       9. Soon after entering the residence at 318 ½ Plum Street, Fegan observed Black

exit the apartment and enter the Dutch Inn. Thereafter, Fegan noticed subjects going into

and coming out of the bar quickly, but not staying long enough to have a drink. Based on

his training and experience, and knowledge that the Dutch Inn was a known location for

drug trafficking, Fegan believed Black was engaging in drug transactions.

       10.     Over approximately the next two hours, Fegan observed Black make

approximately three trips from 318 ½ Plum Street to the Dutch Inn, leading him to suspect

that Black was engaged in drug trafficking.

       11. After receiving the information in Finding No. 6 and making the observations set

forth in Findings Nos. 8-10, at approximately 4:00 p.m. Fegan contacted Probation and

Parole in Maysville. Fegan spoke with Probation and Parole Officer Paul Thayer and

advised him that he had observed Black going into the Dutch Inn. Thayer told Fegan that

he would speak with his supervisor and get back with him.5

       12. Upon receiving the call from Fegan, Thayer spoke with Keith Fetters, a 16 - year

veteran of state probation and parole, about what he had learned.

       13. Fetters contacted Judge McNeill and advised the judge of the alleged violations

of probation. Judge McNeill told the officers to arrest and detain Black on the violation.



       5
           Defendant Black’s regular probation officer was on vacation on June 22, 2005.

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       14. After receiving the telephone call from Fegan and speaking with Judge McNeill,

Fetters and Thayer proceeded to the Maysville Police Department to make arrangements

for the arrest.

       15. Sometime thereafter Detective Fegan observed Black make another round trip

from bar to the residence. Upon seeing Black enter the Dutch Inn once again, Fegan called

the officers and advised them of his observations.              Officers Fetters and Thayer,

accompanied by three Maysville police officers, proceeded to the Dutch Inn. Upon their

arrival, they entered the Dutch Inn and Fetters personally observed Black inside.

       16. At approximately 5:05 p.m., Black was arrested on the probation violation by

Fetters.

       17. A pat down search by Lt. Rice incident to that arrest6 revealed approximately

seven ounces of marijuana in Black’s pocket. Black was then taken into custody.

       18. Believing that he had probable cause for a search warrant, after having

observed Black’s behavior going back and forth between 318 ½ Plum Street and the Dutch

Inn, and the discovery of the large quantity of marijuana on Black’s person, Detective

Fegan proceeded to the County Attorney’s office to assist Assistant County Attorney Kate

Hendrickson in preparing an affidavit and application for a state search warrant for 318 ½

Plum Street.

       19. At approximately 5:09 p.m., Attorney Hendrickson began preparing the affidavit


       6
          Although the arrest was “warrantless” insofar as it was not made pursuant to an arrest
warrant signed by a judge, the arrest had been authorized by Judge McNeill’s oral statement to
probation after McNeill was advised of the alleged violation. This authorization is corroborated by
the Uniform Citation signed by Probation and Parole which indicates that the probation officer had
notified Judge McNeill of the alleged violation and Judge McNeill advised the officer to arrest and
detain Black for the probation violation. See Government Exhibit Four admitted during the hearing.

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for the search warrant. Government Exhibit Three. Attorney Hendrickson began preparing

the search warrant a short time later, at approximately 5:15 p.m. Id.

        20. After determining that the state district judge was unavailable, Detective Fegan

called Judge McNeill and asked him if he would be available to review an application for

a search warrant. McNeill agreed and awaited Fegan’s arrival at the courthouse.

        21. At approximately 5:30 p.m., Detective Fegan’s signature was notarized by

Attorney Hendrickson.

        22. After the signature was notarized, Fegan proceeded to the judge’s chambers.

After reviewing the application and affidavit for the search warrant, Judge McNeill signed

the search warrant at approximately 5:40 p.m. Although he signed and dated the search

warrant at 5:40 p.m., Judge McNeill did not affix the time he signed on the warrant itself.

        23. After obtaining the search warrant, Fegan and others executed the search

warrant and seized quantities of marijuana, powder and crack cocaine, as well as drug

paraphernalia from the 318 ½ Plum residence.

        24. An inventory of the items seized during the execution of the search warrant was

prepared by Detective Fegan that same evening. Although Fegan signed and dated the

inventory, he did not affix the time he signed the inventory. The return to Judge McNeill

was not made until the following day as the Court was closed for the evening on June 22,

2005.

        25. Because Probation and Parole and the jail informed Fegan that Black would be

held on the probation violation warrant and would not be released on the evening of June

22, 2005, Fegan did not issue a citation to Black for the state drug offenses until the

following morning.

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       26. On June 23, 2005, Detective Fegan swore out a Criminal Complaint charging

Black with trafficking in Marijuana and Cocaine and requested an arrest warrant. See

Government Exhibit Five. At approximately 11:08 a.m., an arrest warrant was signed by

Trial Commissioner James Clarkson. Although the date listed was May 23, 2005, that date

was simply an error. The Trial Commissioner inadvertently dated the warrant as May 23,

2005, but timed it correctly.

       27. At approximately 3:25 p.m.7 on June 23, 2005, Detective Fegan served the

warrant on Black at the Mason County Detention Center.

       III.    Analysis

       A.      Defendant Black was properly placed on shock probation on August 27,
               2004 by Mason Circuit Judge John McNeill.

       Black argues that because the Order granting shock probation is silent regarding the

date the motion for shock probation was made, the Order is deficient. Black also argues

that because the shock probation motions were not timely heard, the Order granting Shock

Probation is defective and void. The Court disagrees. Upon review of the Mason Circuit

Court docket sheet, the Court concludes there was no error in the timing of Black’s

placement on shock probation.




       7
          Government Exhibit Six admitted during the hearing correctly shows that the violation
occurred on June 22, 2005, at 6:00 p.m., that being the approximate time the officers executed the
search warrant and found the cocaine and marijuana inside 318 ½ Plum Street. That citation also
correctly shows the date of the arrest as June 23, 2005, at 3:25 p.m., which is the day and time the
warrant was served on Black at the jail for trafficking.

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       As evidenced by Findings Nos. 1-2 herein, Black’s state defense counsel moved for

shock probation on two occasions, May 4, 2004 and July 23, 2004. Both of these dates

were more than 30, but less than 180 days after the date of sentencing. The timing of the

motion thus complied with K.R.S. § 439.265(1) which states, in part:

       ... [A]ny Circuit Court may, upon motion of the defendant made not earlier
       than thirty (30) days nor later than one hundred eighty (180) days after the
       defendant has been incarcerated in a county jail following his conviction and
       sentencing ... suspend the further execution of the sentence and place the
       defendant on probation upon terms the court determines.

       The first motion for shock probation was filed on May 4, 2004, heard on May 14,

2004, and denied on May 14, 2004. See Doc. # 55. The second motion was filed on July

23, 2004 and heard by Judge McNeill on August 27, 2004, after which he granted Black’s

motion for shock probation. Id. Thus, both motions were heard within the statutory time

frame of K.R.S. § 439.265(2) which provides:

       The court shall consider any motion filed in accordance with subsection (1)
       of this section within sixty (60) days of the filing date of that motion, and shall
       enter its ruling within ten (10) days after considering the motion.

For these reasons, there is no error, technical or otherwise, in the timeliness of the Order

granting Black shock probation.

       The Court also rejects Black’s argument that because his case was on direct appeal

to the Kentucky Court of Appeals, the Order granting shock probation was stayed pending

appeal pursuant to Kentucky Criminal Rule 12.76(4). Based on Black’s tortuous logic,

although K.R.S. § 439.265 did provide a basis for releasing him on shock probation, any

conditions of his probation should have been stayed during his direct appeal. Taking

Black’s argument to its logical conclusion, although he was on probation, he would not be

subject to any conditions of that probation during the pendency of the appeal, a simply

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illogical result.

        Despite the language of Rule 12.76(4), all parties, including Black and his state

defense counsel, probation officer and the state Court, operated under the assumption that

the order granting shock probation was valid and effective immediately. For example,

Black reported to probation as directed on August 30, 2004 and signed the conditions of

supervision. State Probation and Parole supervised Black after that date up to and

including June 22, 2005, and was aware that he was not permitted inside bars as a

condition of his probation. Finally, Judge McNeill believed Black’s probation would be

effective immediately as evidenced by his statement during the August 27, 2004 hearing

that he would entertain a motion to revoke probation if Black was convicted of any of the

pending New York state charges. See Court Exhibit One. Judge McNeill was also aware

of Black’s bar restriction as evidenced by his statement to Probation Officer Fetters that

they should arrest and detain Black on the probation violation.

        Moreover, there was no motion by Black’s state defense attorney to stay shock

probation during the pendency of the direct appeal and no discussion during the hearing

of any stay. See Finding No. 3. The Court surmises that the reason there was no such

motion or discussion was because Black wanted to get out of jail as soon as possible and

did not want to jeopardize his chances of shock probation by arguing on the one hand that

he should receive shock probation, and on the other hand that any shock probation, and

conditions thereof, should be stayed pending his appeal. If he had done so in this case,

Judge McNeill may not have granted his request for shock probation.

        When faced with the option of staying in jail pending his appeal or agreeing to the

terms and conditions of his shock probation, Black, of course, pursued the non-custodial

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option of shock probation. After all, it was Black who requested to be released on shock

probation. By filing the motion for shock probation after his case was pending on appeal,

Black expressly submitted himself to the jurisdiction of the Mason Circuit Court and the

conditions of supervision which were placed upon him and to which he expressly agreed.

       For these reasons, the Court concludes that Black was properly placed on shock

probation on August 27, 2004 and based on the facts of this case, Kentucky Criminal Rule

12.76(4) did not operate as a matter of law to stay the conditions of Black’s shock probation

during the pendency of his appeal.

       B.     Defendant Black’s conditions of shock probation on June 22, 2005
              included those conditions signed by Black on August 30, 2004 and
              admitted during the evidentiary hearing as Government Exhibit One.

       In an effort to invalidate the conditions of probation signed by him on August 30,

2004, Black argues that because the August 27, 2004 Order (Defendant Exhibit One)

granting him shock probation does not incorporate by reference the Conditions of

Supervision set forth in Government Exhibit One, he was not subject to those conditions

on June 22, 2005 when he was arrested, searched, and found to be in possession of

marijuana. As a result, Black contends his arrest was unlawful and the fruits of the arrest

cannot be considered by the Court in its probable cause analysis. Black argues that “[d]ue

process requires that the conditions of probation be incorporated into the Order granting

probation so that a defendant is afforded proper notice.” Doc. # 59 at p. 3. In support of

his due process argument, Black cites two cases, Douglas v. Buder, 412 U.S. 430 (1973)

and Tittsman v. Black, 536 F.2d 678 (6th Cir. 1976). Both are easily distinguishable from

this case.



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       In Douglas, the petitioner had been placed on probation with a condition that he

report all arrests without delay to his probation officer. He was thereafter involved in a

multi-car accident and issued a traffic citation for driving too fast for existing conditions.

The judge revoked his probation based on the premise that Douglas had failed to promptly

report an arrest. The Supreme Court, in reversing the Missouri Supreme Court, reviewed

Missouri law and concluded that receiving a citation is not an arrest, and concluded that the

judge’s finding that Douglas had violated the conditions of his probation by failing to report

all arrests without delay was “so totally devoid of evidentiary support as to be invalid under

the Due Process Clause of the Fourteenth Amendment.” 412 U.S. at 432.

       In Tittsman, the petitioner was originally sentenced to five years imprisonment.

Approximately three months later, petitioner’s motion for probation was granted and he was

placed on five years probation in absentia. Soon after being released on probation,

petitioner was arrested and charged with new criminal conduct. Petitioner’s probation was

revoked and he was ordered to serve five years imprisonment. In his habeas petition,

Petitioner argued, in relevant part, that because he had been uninformed of his

probationary status and the conditions thereof, his due process rights had been violated

by the revocation. The Sixth Circuit disagreed, sustaining the revocation of probation

against petitioner’s constitutional challenge. In so concluding, the Court stated:

       [W]e do not imply that probation may be constitutionally revoked for violating
       any condition of probation regardless of whether the probationer had notice
       of his probationary status and of the conditions thereof. Where an act or
       omission, otherwise lawful, is reprehensible only because it violates a
       condition of probation, such as failing to report arrests, failing to report
       personally and to report changes of address to government officials... then
       notice of the probationary status and the conditions thereof would be
       constitutionally required to underlie probation revocation based on violating
       those conditions.

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536 F.2d at 682 (citations omitted).

       In this case, it is undisputed that Black was present for the August 27, 2004 shock

probation hearing wherein Judge McNeill granted him shock probation for a term of five

years. See Court Exhibit One. It is further undisputed that on August 30, 2004, Black

reviewed the conditions of his supervision with his probation officer and signed those

conditions acknowledging his understanding of those conditions. See Government Exhibit

One. Moreover, there can be no dispute that on June 22, 2005, Black was present inside

the Dutch Inn, a place where alcoholic beverages were sold as a primary commodity.

Thus, unlike the case in Douglas, there was ample evidence to support a violation herein.

Additionally, unlike the case in Tittsman, Black knew of his probationary status and had

knowledge of the conditions he signed on August 30, 2004. For these reasons, Black’s

reliance on both cases is misplaced.

       Simply put, when Black was placed on shock probation on August 27, 2004, he

knew he was to report to probation and be under their supervision for five years. Black

reported to probation and parole three days later and went over the conditions of his

probation with his probation officer. There is no evidence that Black was unaware that he

was prohibited from entering a bar as a condition of his probation. As a result, his due

process argument fails.

       Moreover, Black cites no authority requiring the written Order granting shock

probation to refer to or incorporate by reference separate conditions of supervision. If the

Court were to adopt Black’s argument on this issue, then the conditions knowingly signed

by Black on August 30, 2004 would be meaningless. Black would have the Court conclude

that although Judge McNeill placed Black on shock probation to be supervised “under the

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supervision of the Division of Probation and Parole for a period of 5 years,” and that Order

required Black to “report to the probation officer as directed,” the only conditions of his

shock probation were those set forth in Judge McNeill’s August 27, 2004 Order. The Court

disagrees.

       Although imposed at different times, in all other respects “shock” probation is the

same as probation ordered as part of an offender’s original sentence.8 See Wilson v.

Commonwealth, 839 S.W.2d 17, 19 (Ky. Ct. App. 1992). In Kentucky there are two ways

to place a person on probation: probation during original sentencing pursuant to K.R.S. §

533.020(1), and shock probation following sentencing pursuant to K.R.S. § 439.265. In

Wilson, the Kentucky Court of Appeals explained that shock probation is a form of

probation distinguishable only because the probation may be granted only during a brief

period following incarceration.

       Moreover, because Kentucky’s shock probation statute, K.R.S. § 439.265, expressly

states that it is subject to K.R.S. Chapters 500 to 534, the provisions of K.R.S. § 533.030

apply to shock probationers and probationers alike.           The only statutory factor that

distinguishes shock probation is the timing of the circuit court's Order. K.R.S. § 533.030(5)

provides:

       When a defendant is sentenced to probation or conditional discharge, he
       shall be given a written statement explicitly setting forth the conditions under
       which he is being released.

By enacting K.R.S. § 533.030(5), the Kentucky legislature required probationers to be



       8
        In that respect the Court disagrees with the government’s statement in its supplemental
response that “[t]he law and rules differ regarding probation and shock probation.” (Doc. # 60 at
p. 1).

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advised in writing of the conditions of supervision.

       Based on the statutory framework of K.R.S. Chapters 439 and 533, the Court

concludes that the Conditions of Supervision signed by Black on August 30, 2004

(Government Exhibit One) were effective upon his signature. While there are several other

conditions contained in the Order granting shock probation (Defendant Exhibit One), those

conditions do not trump or supersede the conditions of supervision signed by Black on

August 30, 2004.

       Additionally, the fact it was Black’s probation officer, rather than Judge McNeill, who

reviewed the conditions of his supervision with him is of no legal consequence. Moreover,

in view of K.R.S. § 533.030(5), there is no requirement that the Order granting shock

probation incorporate by reference Black’s conditions of supervision. Judge McNeill’s

August 27, 2004 Order required Black to report to the probation officer as directed.

Defendant Exhibit One at p. 2. Three days later, Black reported to the probation office and

was provided with a written statement of his probation conditions as required by K.R.S. §

533.030(5).

       For all of these reasons, the Court specifically rejects Black’s argument that the only

conditions in effect on June 22, 2005 were those contained in Judge McNeill’s August 27,

2004 Order. Rather, the Court concludes that the conditions of supervision signed by Black

on August 30, 2004, including those specified in Finding Nos. 4-5 herein, were in effect on

the date of his arrest and provided a basis for his arrest for violating the terms of his

probation.




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       C.       Defendant Black’s arrest for violating the conditions of his state
                probation was lawful and thus, the fruits of the search incident to that
                arrest are properly considered by the Court in determining whether the
                affidavit contains sufficient probable cause.

       In view of the Court’s conclusions in Sections III(A) & (B) herein, it is undisputed that

Black’s probation prohibited him from entering any place where alcoholic beverages are

sold as a primary commodity. It is further undisputed that the Dutch Inn in Maysville is a

bar where alcoholic beverages are sold as a primary commodity.

       Detective Fegan personally observed Black enter the Dutch Inn several times

throughout the afternoon of June 22, 2005. Finding Nos. 9, 10, and 15. Fegan and

Probation Officer Fetters also personally observed Black inside the Dutch Inn at

approximately 5:05 p.m. on June 22, 2005. Finding No. 15. Based on these undisputed

observations, Fetters had the lawful authority to arrest Black without a warrant for violating

the terms of his probation. See K.R.S. § 533.050(1)(b).

       Because the warrantless arrest was lawful, the search of Black’s person was

permissible as incident to that lawful arrest. Chimel, v. California, 395 U.S. 752, 762-63

(1969) Thus, the fruits of that search, to wit, approximately seven ounces of marijuana,

were validly seized pursuant to the lawful search, and may be properly considered in

determining whether the search warrant affidavit contained sufficient probable cause for

its issuance.

       D.       The affidavit in support of the search warrant signed by Mason Circuit
                Court Judge McNeill set forth sufficient probable cause.

       As a preliminary matter, the Court notes that "a state search warrant being

challenged in a federal court must be judged by federal constitutional standards." Elkins v.



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United States, 364 U.S. 206 (1960); United States v. McManus, 719 F.2d 1395 (6th

Cir.1983). The Fourth Amendment of the U.S. Constitution protects its citizenry from

unreasonable searches and seizures. More particularly, it provides that:

       ... [N]o Warrants shall issue, but upon probable cause, supported by Oath or
       affirmation....

U.S. CONST. amend. IV.

       In United States v. Pinson, 321 F.3d 558 (6th Cir. 2003), the Sixth Circuit reiterated

certain fundamental principles that district courts must apply when defendants argue that

evidence seized pursuant to a search warrant must be suppressed because the affidavit

did not establish probable cause:

       A magistrate judge’s determination of probable cause is given great deference by
       a reviewing court. United States v. Allen, 211 F.3d 970, 973 (6th Cir. 2000) (en
       banc), cert. denied, 531 U.S. 907 (2000). Affidavits must be judged based on the
       “totality of the circumstances” and answer “the commonplace practical question [of]
       whether there is ‘probable cause’ to believe that contraband or evidence is located
       in a particular place.” Illinois v. Gates, 462 U.S. 213, 230 (1983).

       Probable cause is defined as "reasonable grounds for belief, supported by less than

prima facie proof but more than mere suspicion." United States v. Bennett, 905 F.2d 931,

934 (6th Cir. 1990). Where, as in the present case, oral testimony was not presented to

the issuing state court judge,9 the existence of probable cause to support a warrant must

be ascertained exclusively from the four corners of the underlying affidavit. See e.g.,

Whiteley v. Warden, 401 U.S. 560, 565 n. 8 (1971); United States v. Weaver, 99 F.3d 1372,

1377 (6th Cir. 1996). The affidavit is to be judged on the adequacy of what it contains, not



       9
          Although Detective Fegan did indicate that he spoke with Judge McNeill while he was
obtaining the search warrant, there is no indication that Fegan supplemented the written affidavit
with other averments in an effort to obtain the warrant.

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on what it lacks, or on what a critic might say should have been added. Pinson, supra, 321

F.3d at 562 (citing Allen, supra, 211 F.3d at 975). To the extent Defendant seeks to go

beyond the four corners of the affidavit in challenging the sufficiency of probable cause, he

may do so only by making a substantial showing that the affidavit contains deliberate

falsehoods or reckless disregard for the truth, without which the affidavit would be an

insufficient basis for the warrant. Franks v. Delaware, 438 U.S. 154 (1978); United States

v. Jenkins, 728 F.2d 396, 397 (6th Cir. 1984). Because Black has made no such showing

in this case, the Court will not go beyond the four corners of the affidavit in reviewing

probable cause.

       In the case sub judice, the affidavit in support of the search warrant contained the

following averments:

       On June 22, 2005, at approximately 9:00 a.m., Affiant received information
       from/observed: Det. Fuller who was informed by a reliaable (sic) confidential
       witness that Michael Black, a convicted felon, was concealing a large a quantity of
       cocaine at the residence of Steve Lofton, Jr., also a convicted felon, which has video
       cameras on the outside of the residence.

       Acting on the information received, Affiant conducted the following independent
       investigation: Michael Black was observed carrying two large duffle bags, one black
       and one orange into 318½ Plum Street, Maysville, KY. Mr. Black was making
       constant trips from the apartment at 318½ Plum Street to the Dutch Inn where
       affiant observed more than normal traffic going into the Dutch Inn for a very short
       period of time, not sufficiently long to have a drink. Mr. Black is a convicted felon
       currently on shock probation and is under conditions of no contact with other felons
       or to be in alcohol establishments, confirmed by probation and parole. Steve Lofton,
       Jr. who is the lessee of 318½ Plum Street, Maysville, where Michale (sic) Black
       transported the duffle bags and where he was in and out of all afternoon is also a
       convicted felon. Mr. Black was stopped and had marijuana on his person upon
       arrest.

(Government Exhibit 3 at p. 2)




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        Upon reviewing the four corners of the affidavit in this case, the Court concludes that

the affidavit does contain adequate probable cause for its issuance. Probable cause is

established by the following facts:

        C       the information relayed to affiant by Det. Fuller that a reliable witness10 had

                advised him that Black was concealing a large quantity of cocaine inside the

                residence of Lofton;

        C       the presence of video cameras outside Lofton’s residence;

        C       affiant’s own observations of Black after speaking with Detective Fuller on

                June 22, 2005, including –

        C       Black carrying two large duffle bags into 318½ Plum Street, determined by

                affiant to have been leased by Steve Lofton, Jr., the same person identified

                by the confidential witness in whose residence Black was allegedly

                concealing cocaine;

        C       Black making “constant trips” from the apartment at 318½ Plum Street to the

                Dutch Inn;

        C       the fact that Black was “in and out” of the apartment at 318½ Plum Street “all

                afternoon”;




        10
           Although the basis for the confidential witness’ reliability is not set forth in the affidavit,
that fact does not preclude consideration of the witness’ observations. Rather, it is a factor to be
considered in light of the other information contained in the affidavit. As stated in United States v.
Woosley, 361 F.3d 924, 927 (6th Cir. 2004), “an affidavit that supplies little information concerning
an informant's reliability may support a finding of probable cause, under the totality of the
circumstances, if it includes sufficient corroborating information.” While additional details about the
confidential witness may have been helpful, “[t]he affidavit is judged on the adequacy of what it
does contain, not on what it lacks, or on what a critic might say should have been added.” United
States v. Allen, 211 F.3d 970, 975 (6th Cir. 2000) (en banc).

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       C      the heavy short-term traffic at the Dutch Inn while Black was inside the

              establishment; and

       C      the fact that Black had marijuana on his person when arrested.

       These facts, when considered in their totality, were sufficient for the issuing judge

to conclude that there was a fair probability that contraband or evidence of a crime would

be found inside 318½ Plum Street, Maysville, Kentucky. Having reviewed the affidavit, the

Court is satisfied that the state court judge had a substantial basis for concluding that

probable cause existed. See Illinois v. Gates, 462 U.S. at 238-39.

       Because Black was personally observed by Detective Fegan on June 22, 2005

coming from 318½ Plum Street and going to the Dutch Inn several times that afternoon,

and was arrested in possession of marijuana a short time later that same date, there is a

fair probability that contraband would be found inside 318½ Plum Street. For all of these

reasons, the Court concludes that Defendant’s probable cause challenge to the affidavit

in this case is without merit.

       E.     The failure of the affiant to identify the exact times of the averments in
              the affidavit does not make the warrant facially deficient.

       In his supporting memorandum, Defendant relies upon several cases, including

United States v. Boyd, 422 F.2d 791 (6th Cir. 1970) and Rosencranz v. United States, 356

F.2d 310 (1st Cir. 1966) for the proposition that the warrant is invalid because affiant failed

to include information relating to the dates and times he received information which formed

the basis for his affidavit. More particularly, Black argues that at a minimum, affiant was

required to indicate when Det. Fuller received the information from the confidential witness

and/or when affiant may have made his personal observations. According to Black, in the


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absence of such temporal information, the warrant is facially deficient.          The Court

disagrees.

       The state court judge’s reliance on information which, at the most, was several hours

old, is not, as Black suggests, tantamount to the issuance of a warrant on the basis of

undated averments. Thus, the present case is easily distinguishable from Boyd and

Rosencranz.     In Rosencranz, the court concluded "that a combination of undated

conclusory information from an anonymous source and an undated general allegation of

personal observation by the affiant, with no other reasonably specific clues to the time of

their happening, is inadequate." 356 F.2d at 318.

       In this case, the affidavit contained the date and time (June 22, 2005 at 9:00 a.m.)

the affiant received the information from Det. Fuller. While the affidavit did not identify

when the cooperating witness may have observed Black concealing quantities of cocaine

at the location, it nonetheless did contain a starting date and time for the averments. The

affidavit also stated that “[a]cting on the information received, affiant conducted further

investigation...,” which based on how it was phrased, had to have occurred after receiving

the information from Det. Fuller. Moreover, given that the affidavit refers to Black being “in

and out” of 318½ Plum Street “all afternoon” and contains a notarization of affiant’s

signature on June 22, 2005 at 5:30 p.m., it is obvious to the Court that affiant’s

observations occurred on June 22, 2005. That would include the fact that Black had

marijuana on his person when arrested on that same date.

       The averments in the affidavit herein provided the issuing judge a reasonably

specific clue as to the time of affiant’s observations, which is much more specific than was

the case in Boyd and Rosencranz. Finding that this warrant is valid despite the lack of a

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specifically delineated date or time of affiant’s personal observations does not "open the

door to unsupervised issuance of search warrants on the basis of aging information."

Rosencranz, 356 F.2d at 316-17. As the affidavit in this case does not suffer from the

same temporal deficiencies as in Boyd and Rosencranz, Black’s reliance on those cases

is misplaced.

       F.       The failure of the issuing judge to affix the time of his signature or
                affiant’s failure to affix the time of his signature on the warrant’s return
                does not invalidate an otherwise sufficient search warrant.

       As part of his attack on the propriety of the search warrant, Black argues that the

issuing judge’s failure to sign the warrant is fatal. The Court disagrees.

       The fact that the issuing judge did not affix the time he signed the search warrant

does not invalidate the warrant. Not only does Black fail to cite any authority for his

argument, a point reiterated during initial argument on the motion to suppress, the Court’s

own research reveals no such case law. Moreover, there is no argument that the officers

searched 318½ Plum Street before the warrant was signed.

       Neither the Fourth Amendment nor Rule 41 of the Federal Rule of Criminal

Procedure, requires an issuing judge to place the time he signs the search warrant on the

face of the warrant in order to make the warrant constitutionally valid. While it may be

common practice for issuing judges to do so, the Constitution does not so require. In fact,

the Court’s review of Rule 41 reveals only one occasion when the judge must enter on its

face the exact time the warrant was issued. See Rule 41(e)(3)(D),11 Fed. R. Crim. Proc.


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            Rule 41(e) provides in relevant part:

       (e)      Issuing the Warrant.


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involving the issuance of a warrant by telephonic or other means. It is undisputed that that

method was not used during the issuance of the search warrant in this case.

       Additionally, any alleged failure of Detective Fegan to comply with Kentucky Rule

of Criminal Procedure 13.10 does not invalidate the warrant. Rule 13.10(3) provides that

an officer executing a search warrant shall make a return within a reasonable time of its

execution and the return shall “show the date and hour of service.” In this case, the

inventory of items seized pursuant to the warrant was signed by Detective Fegan the

evening of June 22, 2005. Finding No. 24. However, it is undisputed that the return does

not show the hour of service. Affiant’s failure to comply with Rule 13.10(3) by listing the

time of the return is at most, in the Court’s view, a technical or ministerial defect which does

not warrant suppression. The Court’s decision is supported by both Kentucky and Sixth

Circuit case law. See e.g. Commonwealth v. Hubble, 730 S.W.2d 532, 533 (Ky. Ct. App.

1987) Rule 13.10 is procedural in nature and does not confer any new substantive rights

upon defendants. Accordingly, evidence obtained should not be suppressed unless the

violation of the rule resulted in prejudice to the defendant); Moore v. Commonwealth, 268

S.W. 563 (Ky. 1925) (failure to make a return or the making of an improper return does not

destroy the validity of the search if it was in fact conducted in a lawful manner); See United

States v. Dudek, 530 F.2d 684, 688 (6th Cir. 1976) (even if the return is untimely, the failure




       (3)    Warrant by Telephonic or Other Means. If a magistrate judge decides to proceed
              under Rule 41(d)(3)(A), the following additional procedures apply:

       (D)    Signing the Original Warrant and the Duplicate Original Warrant. Upon determining
              to issue the warrant, the magistrate judge must immediately sign the original
              warrant, enter on its face the exact time it is issued, and direct the applicant to sign
              the judge's name on the duplicate original warrant.

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to file a prompt return does not invalidate the search warrant or require suppression of any

evidence obtained as a result of its); Rose v. United States, 274 F. 245, 250-51 (6th Cir.

1921) (making of the return is merely a ministerial act, to be performed after the warrant

is executed, therefore the failure to make a return thereof cannot invalidate the search or

seizure made by authority of such warrant), cert. denied, 257 U.S. 655 (1921). See also

United States v. McKenzie, 446 F.2d 949, 954 (6th Cir. 1971) (noting that although

important, the procedures required for execution and return of a search warrant, contained

in Rule 41(d) of the Federal Rules of Criminal Procedure, are ministerial. Absent a showing

of prejudice, irregularities in these procedures do not void an otherwise valid search);

United States v. Haskins, 345 F.2d 111, 117 (6th Cir.1965) (return of a warrant is a

ministerial act and any failure therein does not void the warrant).

       In this case, whether the Court applies the Kentucky case law interpreting Rule

13.10, or the federal case law interpreting Federal Rule 41, Black has failed to demonstrate

prejudice resulting from Detective Fegan’s failure to indicate the time he made the return

on June 22, 2005. Thus, suppression of the evidence seized pursuant to the warrant is not

warranted on this basis.

       The same can be said for Judge McNeill’s failure to affix the time he signed the

warrant on June 22, 2005. “Technical defects in a warrant do not call for or permit

exclusion of what the search produces." See United States v. Hornick, 815 F.2d 1156,

1158 (7th Cir. 1987) (citing United States v. Leon, 468 U.S. 897 (1984)). Stated plainly,

there is no federal constitutional requirement that a search warrant be affixed with the time

of the judge’s signature in order for the warrant to be valid. Even if there was such a

requirement, the failure to do so in this case does not require exclusion of the evidence

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seized pursuant to the warrant as Black has shown no prejudice by such failure.

       Numerous federal decisions confirm that the alleged errors which occurred in this

case are far less significant than those held by other courts not to warrant suppression.

See e.g., Hornick, 815 F.2d at 1158 (the fact that federal warrant was authorized by a state

rather than federal judge did not call for exclusion of evidence seized); United States v.

Comstock, 805 F.2d 1194, 1200 (5th Cir. 1986) (suppression not called for even though

"search warrant was not issued by court of record as required by Rule 41(a)") cert. denied,

107 S.Ct. 1908 (1987), United States v. Searp, 586 F.2d 1117, 1122 (6th Cir. 1978)

(suppression of evidence was not justified despite the fact that the warrant, in violation of

Rule 41, did not authorize a night search and the affidavit "disclose[d] no facts which would

justify such a search"), cert. denied, 440 U.S. 921 (1979); United States v. Ravich, 421

F.2d 1196, 1200-02 (2d Cir.) (same), cert. denied, 400 U.S. 834 (1970); United States v.

Ritter, 752 F.2d 435, 440-41 (9th Cir.1985) ("purely technical violation of Rule 41 does not

require the suppression of evidence"); United States v. Burke, 517 F.2d 377, 381-82 (2d

Cir. 1975) (exclusion not required even though Rule 41 was not complied with in that the

warrant was not directed to federal officers, did not require search within ten days, and did

not designate a federal magistrate to whom return should be made).

       For all of these reasons, and in view of the case law relied upon herein, the Court

concludes there are no facial deficiencies in the warrant in this case.




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       G.     Even if the Court were to conclude that the affidavit was defective for
              want of probable cause, the search of 318½ Plum Street, Maysville,
              Kentucky is saved via the Leon good-faith exception.

       In United States v. Leon, 468 U.S. 897 (1984), the Supreme Court modified the

exclusionary rule "so as not to bar the admission of evidence seized in reasonable, good-

faith reliance on a search warrant that is subsequently held to be defective." Id. at 905.

See also United States v. Czuprynski, 46 F.3d 560 (6th Cir.1995) (en banc). The Leon

Court also held that the good faith exception to the exclusionary rule would not apply under

the following circumstances, to wit: 1) when the search warrant was obtained in violation

of Franks v. Delaware, 438 U.S. 154 (1978); 2) when the issuing magistrate has failed to

act in a neutral and detached fashion; 3) when the affidavit in support of the warrant is "so

lacking in indicia of probable cause as to render official belief in its existence entirely

unreasonable;" or 4) when the warrant is so facially deficient (i.e., it fails to describe the

particular place to be searched or the items to be seized) that the executing officers could

not have reasonably presumed that it was valid. 468 U.S. at 923.

       The Sixth Circuit has succinctly set forth the standard for determining whether the

Leon exception applies:

       The good faith exception to the exclusionary rule states that the fruits of a
       constitutionally infirm search need not necessarily be suppressed unless: (1)
       the warrant contained a knowing or reckless falsehood; (2) the issuing judge
       acted as a mere “rubber stamp” for the police; or (3) the warrant and the
       affidavit, even after extending appropriate deference to the issuing judge’s
       determination, did not establish probable cause or possessed a technical
       deficiency such that the executing officers cannot reasonably assume the
       warrant to be valid.

United States v. Logan, 250 F.3d 350, 366 (6th Cir. 2001) (citing Leon, 468 U.S. at 922-23).

Although the Court is limited to the four corners of the affidavit in reviewing probable cause,


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a court reviewing an officer's good faith under Leon may look beyond the four corners of

the warrant affidavit to information that was known to the officer and revealed to the issuing

magistrate. United States v. Frazier, 423 F.3d 526, 536 (6th Cir. 2005).

       Although the Court has upheld the validity of the search warrant on all challenged

grounds, (See Section III(A) through (F) supra), even if the Court were to have found the

affidavit was lacking probable cause or the warrant facially deficient, the Leon good faith

exception to the exclusionary rule would save the search.

        In an effort to defeat any application of the Leon good faith exception to the

exclusionary rule, Defendant argues that there is a “clear discrepancy in the times for the

search warrant, the issuance of the arrest warrant and the arrest of the defendant.” When

those discrepancies are combined with the issuing judge’s failure to place a time on the

search warrant and the affiant’s failure to place a time on the search warrant inventory

return, Defendant asserts that the officers could not have been acting in good faith in

proceeding with the arrest of the defendant and the search of 318½ Plum Street. The

Court disagrees.

       Although there is an obvious error regarding the state trial commissioner’s misdating

of the state arrest warrant as May 23, 2005, instead of June 23, 2005, that discrepancy is

irrelevant is conducting the Leon good faith analysis.

       In this case, Defendant Black was arrested at the Dutch Inn in Maysville by Kentucky

Probation and Parole officers at approximately 5:05 p.m. on June 22, 2005.12 A search



       12
           The officers’ good faith is further supported by the fact that Black’s probation officers
advised Judge McNeill of what they had been advised by Detective Fegan and were instructed by
McNeill to arrest and detain Black for probation violations.

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incident to that lawful arrest yielded approximately seven ounces of marijuana in Black’s

pocket. Black was thereafter taken into state custody.

       After the discovery of the marijuana on Defendant’s person, and in consideration of

the other information in his possession from other officers as well as his own personal

observations, Detective Fegan thereafter prepared an affidavit and application for a search

warrant for 318½ Plum Street, Maysville, Kentucky. The warrant was ultimately reviewed

by Judge McNeill and signed by him at 5:40 p.m. Fegan personally witnessed McNeill sign

the search warrant. Fegan thereafter proceeded to 318 ½ Plum Street to execute the

warrant.

       The post-arrest conduct of the officers does not alter the Court’s Leon good faith

analysis. Because Black’s probation officers and the jail informed Detective Fegan that

Black would be held on the probation violation warrant and would not be released, Fegan

waited until the following day to file a criminal complaint against Black based on the June

22, 2005 conduct. At approximately 11:08 a.m. on June 23, 2005, Fegan swore out a

Criminal Complaint charging Black with trafficking in marijuana and cocaine and requested

an arrest warrant. It is undisputed that the warrant was erroneously dated as May 23,

2005, rather than June 23, 2005. Detective Fegan thereafter served the warrant on Black

at the Mason County Detention Center at 3:25 p.m. on June 23, 2005.

       The state Trial Commissioner’s error in recording the wrong date on the state arrest

warrant has no impact on the Court’s Leon analysis. Despite Defendant’s attempts to

characterize the conduct of the officers as not acting in good faith, the record reveals

otherwise. Additionally, Judge McNeill’s failure to affix the time he signed the search

warrant and Detective Fegan’s failure to affix the time he made the return are ministerial

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acts which have no significance in assessing the officer’s good faith.

       In this case, there is simply no credible evidence that the affidavit contained a

knowing or reckless falsehood, that Judge McNeill was not a detached decision-maker, or

that the warrant and affidavit were so deficient that the executing officers could not

reasonably assume the warrant to be valid. The officers who executed the search warrant

acted in good faith reliance on Judge McNeill’s neutral and detached determination of

probable cause. Finally, there is nothing to suggest that the warrant was “so lacking in

indicia of probable cause as to render official belief in its existence entirely unreasonable.”

Leon, 468 U.S. at 923.

       For all of these reasons, and assuming arguendo that the warrant was otherwise

deficient, exclusion of the evidence seized by the officers during its execution is not

necessary because it is obvious to the Court that they acted in good faith throughout.

       Therefore, for the reasons stated herein,

       IT IS ORDERED that the video tape of the shock probation hearing held on August

27, 2004 shall be made part of the record in this case as Court Exhibit One;

       IT IS FURTHER ORDERED that Defendant Black’s Motion to Quash Search

Warrant and to Suppress Evidence Seized Pursuant Thereto (Doc. # 39) be, and hereby

is, DENIED.

       This 17th day of January, 2006.




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